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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



SAMUEL EUGENE CALHOUN,

                       Petitioner,                     Case No. 1:09-cv-468

v.                                                     Honorable Robert Holmes Bell

JOHN PRELESNIK,

                  Respondent.
____________________________________/


                    ORDER TO FILE ANSWER OR OTHER PLEADING

               This is a habeas corpus action filed by a state prisoner pursuant to 28 U.S.C. § 2254.

Respondent shall file an answer or other pleading with respect to the amended petition for a writ of

habeas corpus filed by the Petitioner herein within 180 days of the entry of this order. No extensions

of time will be granted.

               The answer of the Respondent shall comply with the requirements of Rule 5 of Rules

Governing Section 2254 Cases in the United States District Courts. Respondent is further notified

that the failure to raise affirmative defenses in the first responsive pleading may constitute a waiver

of such defenses. See FED . R. CIV . P. 8(c). Petitioner may submit a reply to the Respondent’s

answer within 42 days after the answer is filed. RULE 5(e) OF RULES GOVERNING SECTION 2254

CASES.
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               The Clerk of the Court shall serve one copy of the amended petition and brief in

support by regular mail on the Respondent and one copy by certified mail on the Attorney General

of the State of Michigan.

               IT IS SO ORDERED.



Dated: March 18, 2010                       /s/ Joseph G. Scoville
                                            United States Magistrate Judge




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